Case 06-10725-gwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 1 of 31

EXHIBIT A

04-16-0F B9Cs9 Py Phaeigwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 2 of 31

# 2/ 31
15 3 UY egy \
B75 (5/92) Subpocon for Rule 204 Examinations CSc.
Cp. fs Soe
United States Bankruptcy Court
THSTRICT OF NEVADA ,

IN RE SUBPOENA FOR RULE 2004 EXAMINATION

USA COMMERCIAL MORTGAGE COMPANY, CASENOS. &8K-S-06-107Z5 LGR

USA CAPITAL REALTY ADVISORS, LLC, BKr$-06-10726 L8R

USA. CAPITAL DIVERSIFIED TRUST DEED FUND LLC, BK-S-06-10727 LBR

USA CAPITAL FIRST TRUST DEED FUND LLC, BK-S-06-10728 LBR

USA SECURITIES; LLC, BK-8-06-10729 LER 7

DESTORS. :

JOINTLY ADMINISTERED UNDER 3

Case No. BK-§-06-10725-LER
AFFECTS: ALE DEBTORS

TO:  Weils Fargo Bank, N.A. s
and Wells Fargo Bank of Nevada oy
cfo CSC Services of Nevada, Inc. *
502 East Johm Street, Room EB
Carson City, Nevada 89705

x YOU ARE COMMANDED to produce a corporate representative for exarnination under Pederal Rule of £Bankruptey Procedure 2004, pursuant
to the attached court order, regarding the following topics at the place, date and lime specified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE OF TESTIMONY DAT AND ‘Tittle
LEWIS AND ROCA, LLP April 11, 2007
3093 HOWARD HUGHES PARKWAY, SUITE 600 10:00 AM
LAS VEGAS, NEVADA 89169 ——
(702) 949-8200

XX YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time
specified below:

SEE ATTACHED EXHISIY B FOR DOCUMENTS REQUESTED

TRACE DANE
DIAMOND MCCARTHY LLP
909 FANNIN STREET, SUITE 1500 March 27, 2007
BOUSTON, TEXAS 77010
{713} 333-5100

IGNATURE AND THEE DATE

March 13, 2007
ja} Litigation Connsel for the USACM Liquidating Trust

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

ERIC D. MADDEN

DIAMOND MCCARTHY LLP
120] ELM STREET, 34TH FLOOR
DALLAS, TEXAS 75270

(214} 389-5306

(0036503714

04-18-0890 30 LLRs WYZ

Doc 3721-1 Entered 05/11/07 17:03:38

Page 3 of 31 »

PROOF OF SERVICE
DATE: "PLACE:
SERVED:
spp VELT ON PRINT NAMED MANNER OF SERVICE ~
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

Executed on

Date

Signature of Server

Address of Server

Rule 45, Federal Roles of Civil Procedure, Pans (c} & (d) mads applicable in cases under the Bankruptcy Code by Rule 9016, Fed.R BaokeP.:

(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

Q) A A pay © {'nn attorney responsible fey the issuance and service of
a subpocna gh: Teasonable api to avoid imposing undue burden or
ex on a person al te that subpoenas, The court on oe of of which the
subpoena was is cnfores this duty and impe the ot
attomey in breach of this duty an oppropriate sanetiony which Sa may include, but
ig not limited to, lost camings and reasonable eee ee.

GA), A aa con come to to ee
copying & Cesena ed books, CRIME
inspection of premuscs mot appear fa on at the pluce of produ
inspection unless commanded lo appear far deposition, heating or trial.

(B} Subject to pamerarh ( {d\(2} of this mule, a
Bie sabpaera or before th the time eee for com
fe Sh
. days after service, Serve.

one or angie or
on or

Tor conmmanded to
4 days alter service of
for compliance if such time, 1s less
upon the patty or attiomey designated in the
mapection or copying of or all of the
desipnated materials or of the pre premises, If objection ts made, serving
the subpoena sh shal not be entitled to inspec and copy the materials or mspect
the promises except pursuant to an order by the court which the subpocna
was moued Tf objection has been madé, the party serving the sebpocna may,
npon natice to tht pe to nee, move at any ume for an
order to compel the f production Such an “order to compel production shall
protect any persons who is not a or an officer o of a patty from: slenificant
expenre resulting from the inspestion and copying comman

(3)(4) On timely motion, the court by which a subpotna was issucd
shall quash CO city the sabpoua if i by wh

i fails to allow crasomible sine for compliance. seer of's
Fequues & person mols

party to travel to'a place oeone than 100 hides ales Fo m tie e where
that person msi as loyed or regu
pear ep Ee mtY fe onions of sate CONE
of fin
to travel fone ery cach place within the state in which the tial is Pals held
of,

OS and.

(iii) requires disclosure of jprtvilcerd or other protected
matter arid no exception or waiver appli
iv} subjects a person to ‘Pine burden.
(RB) 2fa subpoena

a ives disclosure of 4 trade secret or other
confidential, rescate » development, or commercial informuatinn, or

fu} reqires ¢ ciscl este ofan unretained experts opinion or
information not describing specie events Ox occurences in dispute
and ot from the expert's study made nor at the véquest of any

or
party pies & person who t is not not 2 party or a officer of a
party to sant substantial expense to travel nore than 100 miles to
attend trial, the cout a aihy, 0 project 4 person subject t to or affected
by the fobpoena, qnas or modify the sulypoetia or, if if the party bs in
ose behi ais issued shows a subelential

testimony alt bea cannot be o 2 Diet without undue
hardship and assures that the to whom the subpoena § is
addressed will he Teasonnbly compensated, the court may order ap-
pearance or production only upon specitied conditions.

(d) DUTIES IN RESPONDING TO SUBPOENA.

(2) A person sponding to subpoena to praduce documents shall
produce a, a5 Bey are are apt in the usual course of busmaess or shall organize
and label ther to conespon wath the categories it de demand,

@) When information subject tc to a subpoena is withheld on a claim
that jé privileged or subject to protection as ial preparation materials, the claim
shall be made expressly and shall be supported by a description of the nature of
the documents, Communications, or things not p That is sufficient to
chable the demanding party to contest the claim.

3/ 31

04-16-0F- 83° Pal Phe sGWy/Z

EXHIBIT A

The topics of examination under Federal Rule of Bankruptcy Procedure 2004 shail

include:

(1)

(2)
(3)
(4)

(5)

(6)

(1)
(8)
(9)
(10)

(11)

(12)

{003650375}

Your policies, if any, regarding document destruction and retention, and how
those policies were applied to the documents requested in EXHIBIT B (the
“documents”);

How and where the documents are kept and filed;
Whether the documents are kept in the ordinary and usual course of business;

How the documents came to be created, including the identities (specifically or
by category) of the persons creating them,

Whether the persons creating the documents had personal knowledge of the
matters stated in the documents, or created from them information transmitted
by someone with such knowledge; ,

Whether it was regular practice to create the documents (or keep a file of the
documents, if created by others);

The efforts made to locate and produce the documents;
The identities of all persons assisting with the search for responsive documents;
Whether any responsive documents were withheld on any ground;

Whether any responsive documents have been destroyed, and if so, when and
for what reason or pursuant to what policy or instruction;

Whether any documents that should have been found were missing, and if so,
the reasons that the documents were missing; and

Whether any of the instructions provided in EXHIBIT B were not followed,
and if so, which instructions were net followed and the reasons for any and all
departures from the instructions.

Doc 3721-1 Entered 05/11/07 17:03:38 Page 4 of 31

#

Af 3)

04-16-0F @8e Rl hhepsgwz Doc 3721-1 Entered 05/11/07 17:03:38 Page5of3l 4 «, 4,

EXHIBIT B
I. DEFINITIONS

As used herein, unless otherwise indicated:

1. “Communication” means any transmittal of information, of any kind,
without regard to whether such information was transmitted orally, in writing,
electronically, visually, or by any other means.

2, “Debtors” shall mean USA Commercial Mortgage Company, USA Capital
Realty Advisors, LLC, USA Capital Diversified Trust Deed Fund, LLC, USA Capital
First Trust Deed Fund, LLC, USA Securities, LLC, and their predecessors and
successors, past and present subsidiaries, affiliates, divisions, branches, agents, officers,
directors, employees, attorneys, agents, brokers, representatives, servants, and any and all
other persons or entities acting or purporting to act directly or indirectly on behalf of or
under the control of any of the Debtors, including any attorneys, advisors, or consultants.

3. “Document” means all originals, drafts and modifications of originals, as
well as copies, duplicates, and counterparts of originals, of written, printed, typed,
graphic, recorded, and visually or orally reproduced material of any kind, whether or not
privileged, and includes, but is not limited to, correspondence, business records,
telephone records and notations, diaries, calendars, minutes, contracts, agreements,
orders, receipts, invoices, bills, pictures, drawings or sketches, blueprints, designs,
notebooks, advertising and commercial literature, promotional literature of any kind,
cables, telexes, telegrams, tecordings, patents, lists, charts, pamphlets, appendices,

exhibits, summaries, outlines, logs, journals, agreements, work papers, statements,

-j-

04-16-0F B92 Eg PHeedgwzZ Doc 3721-1 Entered 05/11/07 17:03:38 Page 6of3l » g, 3;

records of inventory, financial and/or accounting records, catalogues, trade journals, and
any other documented or recorded information. The term “document” also includes
every other manner by which information is recorded or transmitted, including but not
limited to, microfilms, punch cards, disks, tapes, computer programs, printouts, all
recordings made through data processing techniques, and instructions and directions for
use of the data processing equipment to obtain the information recorded by that method.
The term “document” refers to copies, duplicates, and/or counterparts only where (i) the
copy, duplicate, or counterpart is not exactly identical to the original or (ii) your records
only contain a copy, duplicate, or counterpart of the original and not the original itself.

4, “Fintity” or “Entities” shall mean the following entities, their predecessors
and successors, past and present subsidiaries, affiliates, divisions, branches, agents,
officers, directors, employees, attorneys, agents, brokers, representatives, servants, and
any and all other persons or entities acting or purporting to act directly or indirectly on
behalf of or under the control of any of the Entities, including any attorneys, advisors, or
consultants:

Abogo Marketing, LLC

A. L, LLC

Amblamo, LLC

Ashby USA, LLC

ASQ, Ine.

Aware TM 30850, LLC
Barone-Tanamera Condominiums, LLC
Barusa, LLC

B&L Investments, Inc.

Bellavista Partners Limited Partnership
Blue Vale, LLC

Brentwood 128, LLC

Cabemet Highlands, LLC
Califomia Desert, LLC

#e @ 8 tee ee Hee ES

nn

od-18-oF Be ASgLORAR WZ Doc 3721-1 Entered 05/11/07 17:03:38

Campo Land Investment, LLC
Caughlin Club Management Partners, LLC
Caughiin Club Real Property Investors, LLC
CCRE Investors, LI.C

Chardonnay Village Investors, LLC
Classic Residences, LLC

Clemency, LLC

Commercial Concepts, LLC
Comstock Village Investors, LLC
Conference Pros, LLC

Cornman Toltec 160, LLC

DDH Financial Corp.

Diamond Village Investors, LLC

Dirt Holdings, LLC

Double Diamond Homes, LLC
Double Diamond Management Company, LLC
Eagle Ranch, LLC

Eagle Ranch, LLC

Eagle Ranch Development, LLC
Eagle Ranck Residential, LLC
Eleciro Optical Systems Corp.

Emigh Investments, LLC

Equus Management Group

Foothill Commerce Center, LLC
FWY 101 USA Investors, LLC
Hamilton & Montoure, LLC

The Hantges Children’s Educational Trust
Happy Valley, LLC

Haspinov, LLC

H&M Holdings, LLC

HEM inc.

HMA Management, LLC

HMA Sales, LLC

Homewood Village Investors I, LLC
Housing Partners, LLC

Indian Wells California Partners, LLC
Institutional Equity Partners, LLC
Institutional Income Fund

Intelligent E-Mail, Inc,

JaDeM Investments, LLC

Joseph D. Milanowski 1998 Trost
burr Brokerage Company, LLC
Kegan, LLC

Kenya 98, LLC

La Hacienda Land Investors

Longley Town Centre, LLC

Longley Professional Campus, LLC

Bun

Page 7of31 4 3, 3

ot-16-0°- S320 nPkeesgwzZ Doc 3721-1 Entered 05/11/07 17:03:38

eeuueest 8 eeenvvuveeeeeeeeeeveevee

eeeneuepeeeeeaoanseteeaenpeee

Lucid Land Development, LLC

Lucius Blanchard Family Foundation

Market Consultants Limited Partnership

The Meadows Investors, LLC

Medical Billing Alliance, Inc,

Met Partners, LLC

Miners Village Investors, LLC

M.M.P.LE., LLC

Mojave Advertising, LLC

Monticello Investors, LLC

Mountainview Campus Investors, LLC

M.P.D.D. Ranch, LLC

M.P. Tanamera, LLC

Nellis Crossing Management, LLC

Nevada Skin and Cancer, Lucius Blanchard, M.D. Chartered
Nevada Technology Networks, LLC

Opaque Land Development, LLC

Palmdale Associates, LLC

Palomino Partners, a Nevada Limited Partnership
Paul Steven Hamilton Family Limited Partnership
PBH Family, L.P.

Perusa, LLC

Pecos Professional Park Limited Partnership
Pecos Professional Park Property Owners Association
PES, L.L.C.

Pioneer Village Investors, LLC

Placer County Land Investors, LLC

(formerly Placer County Land Speculators, LLC)
Random Developments, LLC

Robert V. Jones, Corp.

Preserve at Galleria, LLC

Ravenswood Apple Valley, LLC

Red Granite, LLC

Redundant Networks, Inc.

Reno Corporate Center, LLC

Reno Design Center, LLC

Reno South Meadows, LLC

Resort International Marketing Inc.

Resort Magic, LLC

Resort Management Solutions, LLC

Rowe Family Trust

Royal Center Associates, LLC

Royal Hotel Corporation

Royal Resort Enterprises, LLC

Royal Resort Operating Company, LLC

Royal Resort Vacation Owners Association, Inc.
Royal Vacation Suites, Inc.

~d-

Page 8 of 31 2 3, 3:

one 18-0 F Bea Rae hens WZ Doc 3721-1 Entered 05/11/07 17:03:38 Page 9o0f31 4 9g; 3;

RTTC Communications, LLC

Sandhill Business Campus, LLC

Sandhill Properties, LLC

Shadow Glen 420, Inc.

Shadroc, LLC

Shoshone Cattle and Land Development Co.
Sierra Vista Investors, LLC

Signature/USA Partners Limited Partnership
Soda Flats Land Company, LLC

South Meadows Apartments, LLC

South Meadows Commercial Property, LLC
South Meadows Office Investors, LLC
South Meadows Residential Partners, LLC
Southem California Land Development, LLC
Sparks Galleria Investors, LLC

Sparks Galleria Investors, LLC

Sparks Galleria Investors Ii, LLC

Sugartree, LLC

TA Management, LLC

Tanamera Apartments, LLC

Tanamera Commercial Development, LLC
Tanamera Corporate Center, LLC
Tanamera Development, LLC

Tanamera Homes, LLC

Tanamera Holding Company, Inc.
Tanamera Management, LLC

Tanamera Residential, LLC

Tanamera Resort Condominiums, LLC
Tanamera Resort Partners, LLC

Tanamera Seniors Village, LLC

TCD Financial Corp.

TCD Land Investments

Telephone Associates of Arizona Limited Liability Company
Telephone Associates of Nevada Limited Liability Company
Thunderbird Hotel Corporation

Tigger Too .

TJA Marketing, LLC

Toblak, LLC

Trading Places International, Inc.
Trans-Aero Land & Development Company
Tree Moss Partners, LLC

Twelve Horses North America, Inc.

Twelve Horses North America, LLC

USA Capital Diversified Trust Deed Fund
USA Capital First Trust Deed Fund

USA Capital Fund I, LLC

USA Capital Fund II, LLC

eee ee enseeenneoeseneeeneeseseeeeneensneeeseeses eens ses

3.

0416-7 oe DG AO L25-Gwz Doc 3721-1 Entered 05/11/07 17:03:38

5.

euuecupuveunseuseteueuuvewevpeuveteteeaeacaneaeue

eamec

USA Capital Fond M1, LLC

USA Capital High Income Real Estate Lending Fund, LLC
USA Capital Institutional High Income Fund, LLC
USA Capital Mortgage, LLC

USA Capital Realty Advisors, LLC

USA Capital Secured income Fund, LLC

USA Capital Specialty Finance, LLC

USA Commercial Mortgage Company

USA Commercial Real Estate Group

USA Development, Inc.

USA Development Fund Two Limited Partnership’
USA Investment Partners, LLC

USA Investors I, LLC

USA Investors TI, LLC

USA Investors HI, LLC

USA Investors TV, LLC

USA Investors V, LLC

USA Investors VI, LLC

USA Lottery Investors, LLC

USA Partners, Inc.

USA Reno Mini-Storage, LLC

USA Secured Income Fund, LLC

USA Securities, LLC

USA South Tech Partners, Ltd.

USA/RVI Development Fund One Limited Partnership
Vaudio, LLC

Vegas Hot Spots, LLC

Vineyard Highlands, LLC

The Vineyard Investors, LLC

Vineyard Professional Campus, LLC

Waterford Partners, LLC

Willowbrook Residential, LLC

Wyndgate Parmers I, LLC

Wyndgate Investors, LLC

Page 10 of 31

“Eyidencing” means constituting, mentioning, describing, concerning,

referring to, relating to, supplementing, amending, superseding, replacing, modifying, or

pertaining to, in whole or in part, the subject matter of the particular requests.

6.

“Ydentify” or “identity” with respect to a natural person requires that the

following information be provided for each such person:

{a)

the name of the person:

-6-

# 10/ 34

04-18 ASE: DELO Le9:OWz Doc 3721-1 Entered 05/11/07 17:03:38 Page 11 Of Sly ya, 94

(b) the Jast known home address, business address and/or telephone
number of each person.

7. “Identify” or “identity” with respect to a person other than a natural person
(e.g., corporation, partnership, unincorporated joint venture, sole proprietorship,
subchapter $ corporation) requires that the following information be provided for each
such person:

(a) the name of the person,
(b) the last known address and telephone number of that person's
headquarters or principal place of business.

8, “Identify” or “identity” with respect to a document means to state the date
and author of the document, the type of document (e.g., letter, memorandum, telegram,
chart), the addressee or intended recipient, a summary of its contents or other means of
identifying the document, and the present location and custodian of the document.
Alternatively, in lieu of the foregoing identification, the document may be produced
along with an identification of the interrogatory to which it is responsive. If any such
document was, but is no longer, in the possession, custody, or control of Wells Fargo or
Wells Fargo’s attomeys or agents, state what disposition was made of it and the date of
such disposition, With respect to document identification, documents prepared
subsequent to or prior to the time period specified in these interrogatories but which
relate or refer to such time or period are to be included in your response.

9, “Identify” or “identity” with respect to a communication, written or oral

conversation, conference or meeting, means to identify all persons participating in or in

-7-

04-18- A aF8 DEA Leo Qwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 12 of 31 #19/ 34

attendance at the communication, conversation, conference or meeting, and to identify all
documents recording, summarizing or otherwise arising from the communication,
conversation, conference or meeting in accordance with the definitions stated above. In
addition, “identify” or “identity” with respect to a communication, conversation,
conference or meeting means to state in detail its purpose, all subjects discussed, the
method(s) of communication.

10. “Individual” or “Individuals” shall mean the following individuals:

» Allen Abolafia

» Richard Ashby

e David M. Berkowitz
» Lucius Blanchard

« Eugene Buckley

© Pinl Dickinson

* Michael Efsiratis

e David A, Fogg

® Cynthia (“Cindy”) Gatto
e Paul Hamilton

e Andrew Hantges

* Thomas Hantges

¢ Stephen R. Hefner

* Rob Hilson

» RJ. Jackson

® Robert V, Jones

e Kraig Koudsen

® Victoria Hessling) Loob
# Joe Lopez

»® Robert MacFarlane
e Cynthia Milanowski
« Joseph Milanowski
e Anthony Monaco

* Sue Monaco

e Christianne Orear

« Salvatore Reale

« Thomas Rondeau

o4- te FASE. § 96 B49 725- > WZ Doc 3721-1 Entered 05/11/07 17:03:38 Page 13 of 31

Temaec

Kreg D. Rowe

Robert Russell

Jeanne Russo

Michael Scofield

Brett Seabert

(Asnir) Faisal Siddiqui

Tracy Suttles

Robert “Bobby” Tomljenovich
Albert Whalen

*e¢ 6 68 @ 8 &

11. “Person” means an individual, firm, partnership, corporation, incorporated
or unincorporated association, and any other legal, commercial, corporate or natural
entity. “Person” means the plural as well as the singular.

12. “Relating or referring” and/or “relate or refer” means in whole or in part
constituting, containing, concerning, embodying, evaluating, reflecting, describing,
discussing, demonstrating, evidencing, supporting, analyzing, identifying, stating,
referring to or dealing with, or in any way pertaining to including without Limitation
documents that relate to the preparation of another document, or documents that are
attached to or enclosed with another document.

13. “Wells Fargo” shall refer to Wells Fargo Bank, N.A. and Wells Fargo Bank
of Nevada and predecessors and successors, past and present subsidiaries, affiliates,
divisions, branches, agents, officers, directors, employees, attorneys, agents, brokers,
representatives, servants, and any and all other persons or entities acting or purporting to
act directly or indirectly on behalf of or under the control of Wells Fargo, including any

attorneys, advisors, or consultants

#13/ 31

04-16 GaSe OG LOL2 25 2 gw Z Doc 3721-1 Entered 05/11/07 17:03:38 Page 14 of 31 y Vay 33

14, “You” or “your” refers to Wells Fargo (as defined above) and its
employees, officers, agents, subsidiaries, affiliates and all other persons acting,
understood to act, or purporting to act on its behalf or under its direction or control.

TE. INSTRUCTIONS

1. The following document requests are to be responded to fully, by
furnishing all information in your possession, custody of control. Your having
possession, custody, or control of a document includes your having a right, superior to
other parties, to compel the production of such document from a third party, such as your
agent, employee, representative, or, unless privileged, attorney.

2. If any document requested herein has been lost, discarded, or destroyed, the
document so lost, discarded or destroyed should be identified as completely as possible,
including without limitation, the date the document was lost, discarded, or destroyed, the
manner in which the document was lost, discarded, or destroyed, the reason(s) the
document was lost, discarded, or destroyed, the person who authorized that the document
be destroyed or discarded, and the person who lost, discarded, or destroyed the document.

3. If you cannot produce a document because it no longer exists or is no
longer in your possession, custody, or control, please identify that document by: (a) its
title; (b) its nature (for example, a “letter” or e-mail”); (c) the date it was created or sent;
(d) its author(s) and signator(y/ies); (¢) any of its recipient(s); (f) the last place it was
known to have been located; (g) the circumstances under which it ceased to exist or

passed from your possession, custody, or control; and (h) the identity and last known

~10-

Case 06-1 -
ob- 16-07 oe Se eee wz Doc 3721-1 Entered 05/11/07 17:03:38 Page 15 of 31% is; 33

residence and business address of any person who had knowledge of its existence and
location.

4, Produce the original, as well as all non-identical duplicates or copies and/or
drafts, of all requested documents in your possession, in the possession of your agents,
attorneys, accountants or employees, or which are otherwise within your custody, control,
or access, wherever located, A document with handwritten notes, editing marks, etc., is
not identical to one without such notes or marks and therefore must be produced if within
the scope of documents requested.

3. Produce each requested document in its entirety, including all attachments
and enclosures, even if only a portion of the document is responsive to the request.

6. if you withhold from production any document (or portion of any
document) that is otherwise responsive to a request on the basis of a claim of privilege,
work product, or other ground, you must provide sufficient information regarding the
withheld document to permit the Court and the parties to evaluate the propriety of your
objection. Specifically, you must identify: (a) the name and title of the author(s) of the
document; (b) the name and title of each person to whom the document wag addressed;
(c) the name and title of each person to whom the document was distributed; (d) the name
and title of each person to whom the document was disclosed, in whole or in part; (¢) the
type of document (¢2., “memorandum” or “report”); (f) the subject matter of the
document: (g) the purpose(s) of the document; (g) the date on the document and, if
different, the date on which the document was created and/or sent: (h) the nuraber of

pages of the document, (i} the specific request herein to which the document is

-il-

94-16-07 ee ae tenee wz Doc 3721-1 Entered 05/11/07 17:03:38 Page 16 of 31

responsive; (j) the nature of the privilege(s) asserted as to the document; and (k) a
detailed, specific explanation as to why the document is privileged or otherwise Immune
from discovery, including a presentation of all factual grounds and legal analyses.

7.  ¥f any requested document cannot be produced in full, produce it to the
extent possible, indicating what is being withheld and the reason it is being withheld.

8. Please produce each specified document either (a) in the original file or
organizational system in which it is regularly maintained or organized or (b) designate
which documents are being produced in response to which of the numbered specifications
below, Produce the requested documents either in their original file folders or appended
to a copy of any writing on the file folders from which the documents are taken.

9. Identify each document produced by the paragraph number of this schedule
to which it js responsive. Lf a document is produced in response to more than one
request, it is sufficient to identify only the first request to which the document is
responsive.

10.  Allelectronically stored information must be produced in the same form or
forms in which it is ordinarily maintained. Specifically, all electronically stored
information must be produced in its native format, so that the metadata can be accessed.

11. Uniess otherwise specified, the relevant time period for this request is from,
January 1, 1997 through and including the present.

12. This request is a continuing one that calls for the supplemental or additional
production of documents if any defendant or its counsel obtains supplemental or

additional documents.

-12-

# 16/ 31

04-1 8-7 OSE 96 10729" gwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 17 of 31 eo

13. In responding to the requests below: (a) the disjunctive shall also be read fo
include the conjunctive and vice versa; (b) “including” shall be read to mean “including
without limitation;” (c) the singular shall also be read to include the plural and vice versa;
(d) the present shall also be read as if the past tense and vice versa; (e) “any” shall be
read to include “all” and vice versa; and (f) “and” shall be read to include “or” and vice
versa,

UI. DOCUMENTS TO BE PRODUCED

1, Any and all documents evidencing any and all accounts at Wells Fargo held
in the name of or for the benefit of any of the Debtors.

2. Any and ali documents evidencing any and all accounts at Wells Fargo held
in the name of or for the benefit of any of the Entities.

3, Any and all documents evidencing any and all accounts at Wells Fargo held
in the name of or for the benefit of any of the Individuals.

4, Any and all documents evidencing the type and purpose of any and all
accounts at Wells Farge held in the name of or for the benefit of any of the Debtors,

5. Any and all documents evidencing the type and purpose of any and all
accounts at Wells Fargo held in the name of or for the benefit of any of the Entities.

6, Any and all documents evidencing the type and purpose of any and all
accounts at Wells Fargo held in the name of or for the benefit of any of the Individuals.

7. Any and all documents evidencing the transactions and/or activity in the

accounts at Wells Fargo held in the name of or for the benefit of any of the Debtors.

-13-

na-16-O3 058: Se 6, 10/25 > QWZ Doc 3721-1 Entered 05/11/07 17:03:38 Page 18 of 31

Temec

8. Any and all documents evidencing the transactions and/or activity in the
accounts at Wells Fargo held in the name of or for the benefit of any of the Entities.

9. Any and all documents evidencing the transactions and/or activity in the
accounts at Wells Fargo held in the name of or for the benefit of any of the Individuals.

10. Any and all documents evidencing the history of the relationship between
any of the Debtors and Wells Fargo.

11. Any and all documents evidencing the history of the relationship between
any of the Entities and Wells Fargo.

12. Any and ail documents evidencing the history of the relationship between
any of the Individuals and Wells Fargo.

13. Any and alt documents evidencing the identification and status of all
present and former employees responsible for handling transactions or accounts of any of
the Debtors at Wells Fargo over the course of Wells Fargo’s relationship with any of the
Debtors.

14, Any and all documents evidencing the identification and status of all
present and former employees responsible for handling transactions or accounts of any of
the Entities at Wells Fargo over the course of Wells Fargo’s relationship with any of the
Entities.

15. Any and all documents evidencing the identification and status of all
present and former employees responsible for handling vansactions or accounts of any of
the Individuals at Wells Fargo over the course of Wells Fargo’s relationship with any of

the Individuals.

~|4-

# 18/ 31

Case 06 10725-qwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 19 of 31

04-16-07:503:31PM: Temec

16, Any and all documents evidencing actual, apparent, and/or purported
authorization of any and all individuals to act on behalf of any Debtors, including but
limited to signature cards and authorization letters.

17, Any and all documents evidencing actual, apparent, and/or purported
authorization of any and all individuals to act on behalf of any Individuals, including but
limited to signature cards and authorization letters.

18. Any and ali decuments evidencing actual, apparent, and/or purported
authorization of any and all individuals to act on behalf of any Entities, including but
limited to signature cards and authorization letters.

19, Any and all documents evidencing the application, opening, acceptance,
management, ongoing review and oversight of the accounts at Wells Fargo held in the
name of or for the benefit of any of the the Debtors, and any Wells Fargo policies and
procedures applicable to these activities.

30. Any and all documents evidencing the application, opening, acceptance,
management, ongoing review and oversight of the accounts at Wells Fargo held in the
name of or for the benefit of any of the Entities, and any Wells Fargo policies and
procedures applicable to these activities.

21. Any and all documents evidencing the application, opening, acceptance,
management, ongoing review and oversight of the accounts at Wells Fargo held in the
name of or for the benefit of any of the Individuals, and any Wells Fargo policies and

procedures applicable to these activities,

~ 15+

# 19/ 31

nen 16- _S8E O 06, iO Le" gwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 20 of 31 # 20/ 31

22, Any and all correspondence files, account officer files, customer cal}
records and credit files with respect to any accounts at Wells Fargo held in the name of or
for the benefit of any of the Debtors.

23, Any and all correspondence files, account officer files, customer call
records and credit files with respect to any accounts at Wells Fargo held in the name of or
for the benefit of any of the Entities.

24. Any and all correspondence files, account officer files, customer call
records and credit files with respect to any accounts at Wells Fargo held in the name of or
for the benefit of any of the Individuals.

25. Any and all documents pertaining to the Debtors’ accounts for internal
audit and regulatory compliance purposes.

26. Any and all documents evidencing handling of overdrafts on any accounts
at Wells Fargo held in the name of or for the benefit of any of the Debtors.

27. Any and all documents evidencing handling of overdrafts on any accounts
at Wells Fargo held in the name of or for the benefit of any of the Entities.

28. Any and all documents evidencing handling of overdrafts on any accounts
at Wells Fargo held in the name of or for the benefit of any of the Individuats.

29, Any and all documents evidencing Wells Fargo’s training of employees
with respect to opening of accounts, due diligence to be performed on account applicants,
maintenance of client correspondence files, maintenance of the account officer files,
maintenance of customer call records, maintenance of credit files, extension of credit,

determination and monitoring of credit worthiness, monitoring of accounts for internal

-16-

Case 06- - - .
nan 16-07 ae SoM peo wz Doc 3721-1 Entered 05/11/07 17:03:38 Page 21 of 31 » 94, 3;

audit and regulatory compliance purposes, handling of overdrafts on accounts and
waivers of limitations on accounts and wire transfers.

30, Any and all documents evidencing any site visits or reviews of any Debtors
conducted by Weils Fargo.

31. Any and all documents evidencing any site visits or reviews of any Entities
conducted by Wells Fargo.

32, Any and all documents evidencing Wells Fargo’s actions, systems, policies
and procedures to assure regulatory and internal audit compliance with respect to the
accounts and the transactions and activity in the accounts of any Debtors, Entities, or
Individuals,

33, Any and all documents evidencing Wells Fargo’s policies and procedures
applicable to monitoring, review and/or investigation of transactions and activity in the
accounts of the Debtors, Entities, or Individuals.

34. Any and all documents evidencing actions taken by Wells Fargo to comply
with “know your customer” policies with respect to any person OF company affiliated
with any Debtors that held an account at Wells Fargo.

35, Any and all documents evidencing actions taken by Wells Fargo to comply
with “know your customer” policies with respect to any person or company affiliated
with any Entities that held an account at Wells Fargo, ’

36, Any and all documents evidencing actions taken by Wells Fargo to comply
with “know your customer” policies with respect to any person oF company affiliated

with any Individuals that held an account at Wells Fargo.

-17-

ot- 18-07 oe OG 10725. Wz Doc 3721-1 Entered 05/11/07 17:03:38 Page 22 of 31

37. Any and all documents evidencing Wells Fargo’s detection of any
suspicious activity in any accounts of any Debtors and actions taken in response thereto.

38. Any and all documents evidencing Wells Fargo’s detection of any
suspicious activity in any accounts of any Entities and actions taken in response thereto.

39, Any and all documents evidencing Wells Fargo’s detection of any
suspicious activity in any accounts of any Individuals and actions taken m response
thereto.

40. Any and all documents evidencing Wells Fargo’s detection of circular
transactions in any accounts of the Debtors and actions taken in response theretc.

41. Any and all documents evidencing Wells Fargo’s policies and procedures
with respect to the filing of suspicious activity reports.

42, Any and all documents evidencing Wells Fargo's policies and procedures
with respect to the PC Manager computer program. (or any other computer prograin
provided by Wells Fargo to its customers for the processing of wire transfers).

43, Any and all documents evidencing loans or other forms of credit extended
to any person or company affiliated with the Debtors, Entities, and/or Individuals by
Wells Fargo and the terms thereof.

44, Any and all documents evidencing actions taken by Wells Fargo to
determine and monitor the credit worthiness of any person or company affiliated with the
Debtors, Entities, and/or Individuals to whom Wells Fargo made loans or extended other

forms of credit.

-18-

# 22/ 31

oa-1a-oF oe 96-10 725-qwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 23 of 31

45. Any and all documents evidencing correspondence and communications
between any of the Debtors and Wells Fargo.

46. Any and all documents evidencing correspondence and communications
between any of the Entities and Weils Fargo.

47, Any and all documents evidencing correspondence and communications
between any of the Individuals and Wells Fargo.

48. Any and all documents evidencing correspondence and communications
between Wells Fargo and the auditors of any of the Debtors, including, but not limited to,
Deloitte & Touche LLP, Piercy Bowler Taylor & Kern, and Beadle McBride Evans &
Reeves LLP.

49, Any and all documents evidencing meetings between Wells Fargo and any
Debtors.

50. Any and all documents evidencing meetings between Wells Fargo and any
Entities.

51, Any and all documents evidencing meetings between Wells Fargo and any
Individuals.

52. Any and all documents evidencing wire transfers received or sent by Weils
Fargo with reference to any accounts at Wells Fargo held in the name of or for the benefit
of any of the Debtors.

53. Any and all documents evidencing wire transfers received or sent by Wells
Fargo with reference to any accounts at Wells Fargo held in the name of or for the benefit

of any of the Entities.

-79-

#:23/ 31

od-16-07 oo: OG LOres( wz Doc 3721-1 Entered 05/11/07 17:03:38 Page 24 of 31

# 24/ 31

54. Any and all documents evidencing wire transfers received or sent by Wells
Fargo with reference to any accounts at Wells Fargo held in the name of or for the benefit
of any of the Individuals.

55. Any and all documents evidencing Wells Fargo’s policies and procedures
applicable to wire transfers to or from the accounts of any Debtors, Entities, and/or
Individuals.

56. Any and ali documents evidencing wire transfers to or from accounts of any
Debtors that were circular in nature or unusually large in dollar amount.

57, Any and all documents evidencing wire transfers to or from accounts of any
Entities that were circular in nature or unusually large in dollar amount.

58. Any and all documents evidencing wire transfers to or from accounts of any
Individuals that were circular in nature or unusually large in dollar amount.

59, Any and all documents evidencing Wells Fargo’s policies and procedures
applicable to wire transfers to or from accounts of any Debtors, Entities, or Individuals
that were citcular in nature or unusually large in dollar amount.

60. Any and all documents evidencing wire transfers to or from accounts of any
Debtors where the name of the recipient or transferor is not identified,

61. Any and all documents evidencing wire transfers to or from accounts of any
Entities where the name of the recipient or transferor is not identified,

62, Any and all documents evidencing wire transfers to or from accounts of any

Individuals where the name of the recipient or transferor is not identified.

- 20 -

o4-16-C7 ae OG AOL An gwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 25 of 31 # 95/31

63. Any and ail documents evidencing Wells Fargo's policies and procedures
with respect to wire transfers to or from accounts of any Debtors, Entities, and/or
Individuals where the name of the transferor or recipient is not identified.

64. Any and all documents evidencing Wells Fargo's knowledge of the sources
and uses of funds deposited into any accounts at Wells Fargo held in the name of or for
the benefit of any of the Debtors.

65. Any and all documents evidencing Wells Fargo's knowledge of the sources
and uses of funds deposited into any accounts at Wells Fargo held in the name of or for
the benefit of any of the Entities.

66, Any and all documents evidencing Wells Fargo’'s knowledge of the sources
and uses of funds deposited mto any accounts at Wells Fargo held in the name of or for
the benefit of any of the Individuals.

67. Any and all documents evidencing Wells Fargo’s knowledge of the
business activities of any Debtors.

68. Any and all documents evidencing Wells Fargo’s knowledge of the
business activities of any Entities.

69. Any and all documents evidencing Wells Fargo’s knowledge of the
business activities of any Individuals.

70. Any and all documents evidencing Wells Fargo’s knowledge of any illegal
activity by any Entities or any activity of any Entities considered by Wells Fargo to be

suspicious.

i -

04-18- CF aS OG hO LAS Gwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 26 of 31 » 467 31

71. Any and all documents evidencing Wells Fargo’s knowledge of any illegal
activity by any Individuals or any activity of any Individuals considered by Wells Fargo
to be suspicious.

72. Amy and all documents evidencing any concerns or problems that arose,
including but not limited to regulatory or jnternal audit compliance concerns, with respect
to any of the accounts of any Debtors at Wells Fargo or any activity or transactions
therein, and the actions taken by Wells Fargo to remedy those concerns or problems.

73. Any and all documents evidencing any concerns or problems that arose,
including but not limited to regulatory or internal audit compliance concerns, with respect
to any of the accounts of any Entities at Wells Fargo or any activity or transactions
therein, and the actions taken by Wells Fargo to remedy those concerns of problems.

74, Any and all documents evidencing any concerns or problems that arose,
including but not limited to regulatory or internal audit compliance concems, with respect
to any of the accounts of any Individuals at Wells Fargo or any activity or transactions
therein, and the actions taken by Wells Fargo to remedy those concerns or problems.

75. Any and all documents evidencing overdrafts on accounts of any Debtors
and actions taken by Wells Fargo with respect to such overdrafts,

76. Any and all documents evidencing overdrafts on accounts of any Entities
and actions taken by Wells Fargo with respect to such overdrafts.

77. Any and all documents evidencing overdrafts on accounts of any

Individuals and actions taken by Wells Fargo with respect to such overdrafts.

-22.

o4-18-Cf ae OB AO LAS WZ Doc 3721-1 Entered 05/11/07 17:03:38 Page 27 Of 31 4 4a7/ 21

78. Any and all documents evidencing Wells Fargo’s policies and procedures
applicable to overdrafts on any accounts held by Debtors, Entities, and/or Individuals.

79, Any and all documents evidencing any participation by Wells Fargo in any
loans extended by any Debtors to a third party.

80. Any and all documents evidencing any participation by Wells Fargo in any
loans extended by any Entities to a third party.

81. Any and all documents evidencing any participation by Wells Fargo in any
loans extended by any Individuals to 2 third party.

82, Any and all documents evidencing afy reports or filings made to any
regulatory agency or group relating to any Debtors.

83. Any and all documents evidencing any reports or filings made to any
regulatory agency or group relating to any Entities,

84. Any and all documents evidencing any reports or filings made to any
regulatory agency or group relating to any Individuals.

85. Any and all documents evidencing fees earned by Wells Fargo and its

employees for the handling of the accounts of any Debtors and wire transfers to or from

those accounts.
86. Any and all documents evidencing fees earned by Wells Fargo and its
employees for the handling of the accounts of any Entities and wire transfers to or from

those accounts,

- 23 -

04-16-07 APE OG OLree wz Doc 3721-1 Entered 05/11/07 17:03:38 Page 28 Of 31 » se, 91

87. Any and all documents evidencing fees earned by Wells Fargo and its
employees for the handling of the accounts of any Individuals and wire transfers to or
from those accounts,

88. Any and ali documents evidencing correspondence and communications
between Wells Fargo and any attorneys for any of the Debtors, including but not limited
to Goold Patterson Ales & Day: Kummer Kaemper Bonner Renshaw & Ferrario;
Santoro, Driggs, Walch, Kearney, Johnson & Thompson; and Bryan Cave LLP.

89. Any and all documents evidencing correspondence and communications
between Wells Fargo and any attorneys for any of the Entities, including but not limited
to Goold Patterson Ales & Day; Kummer Kaemper Bonner Renshaw & Ferrario;
Santoro, Driggs, Walch, Kearney, Johnson & Thompson; and Bryan Cave LLP.

90. Any and all documents evidencing correspondence and communications
between Wells Fargo and any attorneys for any of, the Individuals, including but not
limited to Goold Patterson Ales & Day, Chartered; Kummer Kaemper Bonner Renshaw
& Ferrario, Ltd,, Santoro, Driggs, Walch, Kearney, Johnson & Thompson, Ltd.; and
Bryan Cave LLP.

91. Any and all documents evidencing any transactions, including wire

transfers, between any of the Debtors and any of the Entities.

92. Any and all documents evidencing any transactions, including wire
transfers, between atry of the Debtors and any of the Individuals.

93, Any and all documents evidencing any transactions, including wire

transfers, between any of the Entities and any of the Individuals.

»~ 34-

Doc 3721-1

04-16-09 Sh Der dean wy Z Entered 05/11/07 17:03:38 Page 29 of 31 #79/ 31

x on ™

Facsimile (702) 949-8 oT
Telephone (702) 949-8320

Susan M, Freeman AZ State Bar No. 004199
Email: sireerman @ttlaw.

10 Rob Charles NV State E Barn ‘No. 006593
Email: icharles @Irlaw. com

IL] Attorneys for Official Committee of Unsecured Creditors
of ad Commncratal Mortgage Compan

1
pe ee pps
2 Entered on Docket we. Jyh
3 March 08, 2007 -
Hon, Linda B. Riegte
4 United States Bantruptcy Judge
5
6| LEWIS AND ROCA LLP
7|| 3963 Howard ughes Pai Parkway, Suite 600
Las Vegas, NV 891
8
9

12
13
14
UNITED STATES BANKRUPTCY COURT
15 DISTRICT OF NEVADA
16} In Re: Jointly Administered
171 USA Commercial Mortgage Compan Chapter 11 Cases
06-10725 — Lead a Cate pany P

18 Judge Linda B. Riegle Presiding

USA Capital Realty Advisors, LLC
19 06-10726

- [No Bearing Required]

20; USA Capital Diversified Trost Deed Fund,

LLC Affecting:
31 06-10727 C Alt Cases

or Only:
291 USA Capital First Erust Deed Fund, LLC (21 USA Commercial Mortgage Company
06-10728 [1 USA Capital Realty Advisors, LLC

23 C USA Capital Diversified Trust Deed Fond,

USA Securities, LLC LLC
34 06-10729 L] USA Capital First Trust Deed Fund, LLC

Debtors. 0 USA Securities, LLC

25

1814728.1

04-18-49 988 OO Geirergwz Doc 3721-1 Entered 05/11/07 17:03:38 Page 30 of 31 % ap, 3;

" gr ™

ORDER REQUIRING WELLS FARGO BANK, N.A. TO PRODUCE ONE OR
MORE CORPORATE REPRESENTATIVES FOR EXAMINATION
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004

rt

The Official Committee of Unsecured Creditors of USA Commercial Mortgage
Company (“Movant”) filed a Motion for Order Requixing Wells Fargo Bank, N.A. to
Produce One or More Corporate Representatives for Examination Pursuant <o Federal
Rule of Bankruptcy Procedure 2004 (the “Motion”), having been submitted to this Court,
and good cause appearing,

If 15 HEREBY ORDERED that Wells Fargo Bank, N.A. (“Wells Fargo”) produce

one or more corporate representatives, as set forth in subpoenas issued under Federal Rule

eo Cf 4“ A Mh Se Uw UN

_
o

Bankiuptey Procedure 9016, to appear for examination at the law office of Lewis and
Roca, LLP, 3993 Howard Hughes Parkway, Suite 600, Las Vegas, NV 89169, on a

business day no earlier than ten (10) business days after the filing of the Motion and no

= — —_
we BF Fe

later than April 30, 2007, or at such other mutually agreeable location, date, and time, and

a
he.

continuing from day to day thereafter until completed.
dE

—_—
oon

PREPARED AND SUBMITTED;

17) VE WIS AND ROCA LLP

By:__/s/ RC (#0006593)
0 Susan M. Freeman ©
Rob Charles

9) Altorneys for the Official Committee of Unsecured
Crates USA Commercial Morreoes Company

23) -and-

1844728 1

cates O52 SEL GZea wz Doc 3721-1 Entered 05/11/07 17:03:38

wo 6 STH TH FP OWS OB Oe

BS Ob OD ete et
Boa FE RBE BGR RAR DR BB TS

DIAMOND MCCARTHY TAYLOR FINLEY
& LEE LLP

By: /s/ Eric D. Madden (pro hac vice}

Allan 8. Diamond, TX 05801800 (pro hac vice)
Wiliam T. Reid, [V, TX 00788817 (pro hac
vice)

Exic D. Madden, TX 24013079 (pro hac vice)
1201 Elm Street, 34th Floor

Dallas, Texas 75270

Special Litigation Counsel for Official
Committee of Unsecured Creditors of USA
Commercial Mortgage Company

Page 31 of 31 # 21/31

1814728. 1

